                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


     UNITED STATES OF AMERICA                      )
                                                   )
                                                   )    NO. 2:19-cr-00010
     v.                                            )
                                                   )    JUDGE CAMPBELL
                                                   )
     GILBERT R. GHEARING                           )


                                              ORDER


          Pending before the Court is the Government’s Unopposed Motion to Continue Sentencing

Hearing (Doc. No. 289). The motion is GRANTED, and the sentencing hearing scheduled for

November 29, 2023, is CONTINUED to January 31, 2024, at 1:30 p.m. The Defendant shall

remain on his current conditions of release pending further order of the Court. The Defendant shall

attend all Court hearings in this case.

          At least seven days before the sentencing date, the parties shall file a “Position of the

(Government or Defendant) Regarding the Presentence Report,” containing only unresolved

objections to the Presentence Report (LCrR 32.01(e)(4)). Any responses shall be filed no later than

three days before sentencing. If the parties have no objections to the Presentence Report, they shall

so indicate in their “Position” filed with the Court. The parties shall also serve a copy of their

“Position” on the Probation Office upon its filing. At least seven days before the sentencing date,

the parties shall file their respective statements addressing sentencing factors set forth in 18 U.S.C.

§3553(a), (LCrR 32.01(e)), other sentencing filings (LCrR 32.01(f)), and motions for a departure.




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     It is so ORDERED.

                                    ____________________________________
                                    WILLIAM L. CAMPBELL, JR.
                                    UNITED STATES DISTRICT JUDGE




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